Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.212 Filed 01/23/23 Page 1 of 23


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                                       Case No. 21-cr-20717

v.                                                               HON. MARK A. GOLDSMITH

DARRYL DOMINIC WOODFORD,

            Defendant.
__________________________________/
                             OPINION & ORDER
        (1) DENYING DEFENDANT’S MOTION FOR RECONSIDERATION (Dkt. 29),
     (2) DENYING DEFENDANT’S MOTION TO DISMISS (Dkt. 31), AND (3) DENYING
     DEFENDANT’S MOTION FOR REVOCATION OF DETENTION ORDER (Dkt. 32)

      Defendant Darryl Dominic Woodford has filed three motions that are before the Court: a

motion for reconsideration of the Court’s opinion denying his motion to suppress (Dkt. 29), a

motion to dismiss the indictment for violation of his speedy trial right (Dkt. 31), and a motion for

revocation of detention order (Dkt. 32). For the reasons set forth below, the Court denies the

motions.1

                                       I. BACKGROUND

      In 2020, a confidential informant reported to law enforcement that her ex-boyfriend,

Woodford, “was believed to be contacting minors through social media seeking nude or semi-nude

photographs.” Search Warrant Aff. ¶ 3A (Dkt. 22-1). Law enforcement interviewed the informant,

who “indicated that Woodford had explicit images and videos of the two of them from when

informant was 17 years old.” Id. ¶ 3E. The informant stated that Woodford “has at least one video



1
  In addition to the motions, the briefing includes the Government’s response to the motion for
reconsideration (Dkt. 33) and Woodford’s reply (Dkt. 39), the Government’s response to the
motion to dismiss (Dkt. 35) and Woodford’s reply (Dkt. 40), and the Government’s response to
the motion for revocation of detention order (Dkt. 34) and Woodford’s reply (Dkt. 38). The Court
held a hearing on the motions on January 11, 2023.
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.213 Filed 01/23/23 Page 2 of 23


of the two of them engaged in sexual intercourse” that “was recorded without consent or

knowledge,” and that Woodford “has at least one photograph of the informant with his/her buttocks

and genitalia visible.” Id. ¶ 3F. She also stated that Woodford was still in possession of this

photograph and video, as he had sent them to her about two months before the interview. Id. ¶ 3G.

   The informant’s statements prompted law enforcement to open an investigation into

Woodford, during which they interviewed four other individuals who reported that they had

contact with Woodford in the past. Id. ¶¶ 3H–3L. Law enforcement then obtained from a state-

court judge in Michigan’s Wayne County a search warrant for Woodford’s home. Id. at 1. During

the search, agents seized Woodford’s cell phone and laptop. Compl. ¶ 11 (Dkt. 1). According to

the complaint, on Woodford’s devices, agents found the photo and video of the confidential

informant described in the affidavit, videos of two minors that Woodford recorded and that met

the federal statutory definition of child pornography, and over 400 images and videos of

commercial child pornography. Id. ¶¶ 12–13.

   After Woodford’s initial appearance in court on the complaint, the magistrate judge held a

detention hearing on November 24, 2021. She ordered Woodford detained pending trial (Dkt. 13).

On November 30, 2021, the Government filed a five-count indictment charging Woodford with

two counts of sexual exploitation of children, in violation of 18 U.S.C. §§ 2251(a) and (e); two

counts of attempted sexual exploitation of children, in violation of 18 U.S.C. §§ 2251(a) and (e);

and one count of possession of child pornography, in violation of 18 U.S.C. § 2252A(a)(5).

Indictment (Dkt. 14).

   On March 21, 2022, Woodford filed a motion to suppress all evidence obtained pursuant to the

search warrant. The Court denied the motion (Dkt. 27).

                                         II. ANALYSIS

   The Court addresses each of Woodford’s motions in turn.


                                                2
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.214 Filed 01/23/23 Page 3 of 23


   A. Motion for Reconsideration

   Woodford has filed a motion for reconsideration of the Court’s opinion denying his motion to

suppress. In the motion, Woodford sought to suppress all evidence obtained as the result of the

search executed at his home. Mot. to Suppress at 1. He also requested a hearing under Franks v.

Delaware, 438 U.S. 154 (1978) on the basis of alleged material omissions in the affidavit in support

of the search warrant. Id. at 3, 9–11. Woodford argued that the affidavit contained material

omissions because it did not state whether the informant could produce the video or photograph

that she alleged Woodford sent her, and it did not state whether the affiant personally viewed these

materials or asked the informant if she could produce them. Id. at 10; Mot. to Suppress Reply at

1–2. He argued that he was entitled to a hearing to determine what steps the affiant took to

determine if the video or photograph existed and why the affiant did not include this information

in the affidavit. Mot. to Suppress Reply at 3. Further, he contended that, even if the Court did not

find a Franks hearing necessary, the affidavit did not establish probable cause that he engaged in

any criminal activity. Mot. to Suprress at 11–18.

   1. Opinion Denying the Motion to Suppress

   The Court denied the motion, finding that (i) Woodford did not establish his entitlement to a

Franks hearing; (ii) the warrant was based on probable cause; and (iii) alternatively, the good-faith

exception to the exclusionary rule barred exclusion of the evidence. In discussing the request for

a Franks hearing, the Court first explained that a defendant may be entitled to a Franks hearing

when facts were omitted in a warrant application—but only in “‘rare instances.’” 11/15/22 Op. at

5 (quoting Mays v. City of Dayton, 134 F.3d 809, 815 (6th Cir. 1998)). A defendant is entitled to

a Franks hearing based on alleged omissions, the Court stated, “‘if and only if (1) the defendant

makes a substantial preliminary showing that the affiant engaged in deliberate falsehood or

reckless disregard for the truth in omitting information from the affidavit, and (2) a finding of


                                                 3
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.215 Filed 01/23/23 Page 4 of 23


probable cause would not be supported by the affidavit if the omitted material were considered to

be a part of it.’” Id. (quoting United States v. Fowler, 535 F.3d 408, 415 (6th Cir. 2008)).

   Turning to the first part of the Franks inquiry, the Court found that Woodford had not made a

substantial preliminary showing that the affiant engaged in a deliberate falsehood or reckless

disregard for the truth in omitting information from the affidavit. Id. at 5–7. The alleged omissions

pertained to whether the informant could produce any video or photograph that Woodford

allegedly sent her or whether the affiant himself had either seen the materials or asked the

informant if she could produce them. Id. Woodford simultaneously argued (i) that the omission

indicated that the informant did not have the materials because, if she did, law enforcement would

have included that information in the affidavit, and (ii) that the omission created for the state-court

judge a false impression that the informant had in fact turned over the photograph and video to law

enforcement, which confirmed their existence. Id. at 5–6. The Court found these arguments

contradictory. Id. The Court then found that, even accepting the proposition that the informant

did not have the photograph or video she alleged she had received, Woodford had not made a

showing that the affiant engaged in deliberate falsehood or reckless disregard for the truth. Id. at

6. The Court noted that allegations of reckless disregard for the truth “‘must be accompanied by

an offer of proof,’” and Woodford did not make such an offer of proof. Id. at 7 (quoting Franks,

438 U.S. at 171).

   The Court then addressed the second part of the Franks inquiry and determined that the omitted

material would not vitiate probable cause. It explained that the informant’s allegations “provided

the state-court judge with a substantial basis for concluding that Woodford possessed and

distributed child pornography and, therefore, engaged in criminal activity.” Id. at 9. It found that,

whether the informant could produce the video and photograph or whether the affiant asked the

informant if she could produce them, the affidavit properly alleged that a crime—the possession


                                                  4
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.216 Filed 01/23/23 Page 5 of 23


and distribution of child pornography—had been committed and supported probable cause for the

commission of a crime under federal law and Michigan law. Id. at 9.

    In addition, the Court addressed Woodford’s argument that the affidavit was deficient in part

because it did not establish the veracity and credibility of the informant. Id. It noted that “‘the

affiant need only specify that the confidential informant has given accurate information in the past

to qualify as reliable,’” which the affiant here had done. Id. at 10–11 (quoting United States v.

Greene, 250 F.3d 471, 480 (6th Cir. 2001)). And it found that other aspects of the informant’s

statements bolstered her veracity and reliability, including that her identity was known to law

enforcement, that her statements were made based on her firsthand observations of events, and that

she provided a detailed description of events, such as specific contents of the photograph and video

and the time at which they were allegedly sent. Id. at 11–12. Based on the affiant’s assertion that

the informant had provided true and reliable information in the past and other indicia of the

informant’s reliability, the Court found that the affidavit established the informant’s veracity and

credibility. Id. at 12.

    2. Woodford’s Arguments in Support of the Motion for Reconsideration

    Local Rule 7.1(h)(2) governs motions for reconsideration of non-final orders. As that rule

states, such motions “are disfavored.” E.D. Mich. LR 7.1(h)(2). Further, such motions can be

brought only on the three grounds set forth in the rule. See E.D. Mich. LR 7.1(h)(2)(A)–(C).

Woodford bases his motion on the first ground—that “[t]he court made a mistake, correcting the

mistake changes the outcome of the prior decision, and the mistake was based on the record and

law before the court at the time of its prior decision.” E.D. Mich. LR 7.1(h)(2)(A).

    Woodford contends that the Court erred in denying his request for a Franks hearing to

determine what steps law enforcement took to verify whether the informant possessed the alleged

evidence. Mot. for Reconsideration at 2–4; Mot. for Reconsideration Reply at 1–2. He asserts


                                                 5
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.217 Filed 01/23/23 Page 6 of 23


that his arguments regarding the inference from the affidavit’s alleged omission were not

contradictory and support a finding that a Franks hearing is needed to determine the affiant’s

investigative efforts, including whether he confirmed that the informant had the photograph and

video. Mot. for Reconsideration at 2. He maintains that “[r]egardless of the Court’s inference as

to the impression of the omitted information, the fact remains: the affiant did not state whether he

explicitly sought to confirm that the confidential informant actually possessed what she claimed

to.” Id. at 1. This omission, he states, undermines a finding of probable cause. Mot. for

Reconsideration Reply at 1–2.

   Woodford made these same arguments in his motion to suppress. The Court addressed these

arguments in its opinion denying the motion. As stated, it noted that Woodford asserted that the

omission both suggested that the informant had not produced any photograph or video and created

the misleading impression that law enforcement confirmed that the materials existed. 11/15/22

Op. at 5. The Court then proceeded to find that, regardless of the impression of the alleged

omission, Woodford was not entitled to a Franks hearing because (i) he did not make a substantial

preliminary showing that affiant acted deliberately or with reckless disregard for the truth in

omitting information from the affidavit, and (ii) even if the omitted information were considered

to be part of the affidavit, the informant’s allegations described the crimes of possession and

distribution of child pornography and, therefore, created sufficient probable cause. Id. at 6–9.

   Woodford does not identify a mistake in the Court’s decision and attempts to relitigate issues

that he has already raised. “[M]otions for reconsideration are not the proper vehicle to relitigate

issues previously considered.” United States v. Moore, No. 06-20465, 2022 WL 1251009, at *1

(E.D. Mich. April 27, 2022) (punctuation modified); see also Bowles v. Macomb Cnty. Coll., et

al., No. 20-13175, 2022 WL 1469515, at *2 (E.D. Mich. May 10, 2022) (denying motion for

reconsideration that “attempt[ed] to relitigate issues and arguments that the court ha[d] previously


                                                 6
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.218 Filed 01/23/23 Page 7 of 23


considered” and where it was “clear Plaintiff merely disagree[d] with the court’s holding”).

“[M]ere dissatisfaction with a Court’s ruling is an inappropriate and insufficient ground to support

a motion for reconsideration.” Meekison v. Ohio Dep’t of Rehab. and Corr., 181 F.R.D. 571, 572

(S.D. Ohio 1998).

   In addition, Woodford focuses on the reliability and identity of the informant, contending that

her “unique duality” undermines a finding that she is reliable and requires the affiant to take

additional investigative steps, as she is not “the typical confidential informant imagined by the

[United States Court of Appeals for the] Sixth Circuit” but rather “an alleged minor victim,

potential witness, and the admitted ex-girlfriend of Woodford.” Mot. for Reconsideration at 3. In

the motion to suppress, Woodford asserted that the affidavit did not establish the veracity and

credibility of the informant. Mot. to Suppress at 11–12. He referenced a former “relationship”

with the informant in the context of his assertion that the affidavit relied on stale information. See

id. at 16. He did not specifically argue that the informant’s multiple roles of alleged victim,

witness, and ex-girlfriend undermined her reliability or that her past relationship with Woodford

required law enforcement to state whether she possessed the alleged evidence.               However,

Woodford has not shown that he could not have made this argument when he filed the motion to

suppress. The informant’s status as his ex-girlfriend, the informant’s allegations in the affidavit,

and the omission at issue were all known to him at the time he filed the motion. “A party may not

utilize a motion for reconsideration to introduce new legal theories for the first time, to raise legal

argumentation which could have been heard during the pendency of the previous motion, or to

present evidence that could have been adduced during the pendency of the original motion.”

DiPonio Constr. Co. v. Int’l Union of Bricklayers, Local 9, 739 F.Supp.2d 986, 1004 (E.D. Mich.

2010) (punctuation modified).




                                                  7
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.219 Filed 01/23/23 Page 8 of 23


   Woodford’s motion for reconsideration reasserts positions he has argued and raises a new

argument that he could have raised previously. Therefore, the Court denies the motion for

reconsideration.

   B. Motion to Dismiss

   Woodford has also filed a motion to dismiss the indictment for violation of the Speedy Trial

Act. Mot. to Dismiss. He argues that the indictment must be dismissed with prejudice because

the Court issued its decision on his motion to suppress more than 30 days after it received all

expected documents and took the completed briefing under advisement. Id. at 7.

   The Court first discusses the timing requirements of the Speedy Trial Act. It then discusses

how these statutory provisions apply to Woodford’s motion. It concludes by finding that there

was no speedy trial violation because the complexity of Woodford’s motion necessitated a

continuance.

   1. Periods of Excludable Delay Under the Speedy Trial Act

   The Speedy Trial Act requires that a defendant be tried within 70 days of the filing of the

information or indictment, or of the first appearance before a judicial officer of the court in which

the charge is pending, whichever occurs later. 18 U.S.C. § 3161(c)(1). The statute excludes certain

periods from the 70–day calculation, including those related to pretrial motions, which “have the

effect of stopping the speedy trial clock.” United States v. Moss, No. 98-4273, 2000 WL 553901,

at *5 (6th Cir. April 26, 2000). It excludes “delay resulting from any pretrial motion, from the

filing of the motion through the conclusion of the hearing on, or other prompt disposition of, such

motion.” 18 U.S.C. § 3161(h)(1)(D). It also excludes “delay reasonably attributable to any period,

not to exceed thirty days, during which any proceeding concerning the defendant is actually under

advisement by the court.” Id. § 3161(h)(1)(H).




                                                 8
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.220 Filed 01/23/23 Page 9 of 23


   The Sixth Circuit has explained that these two provisions distinguish between motions that

require a hearing and those that do not. United States v. Mentz, 840 F.2d 315, 326 (6th Cir. 1988)

(citing Henderson v. United States, 476 U.S. 321 (1986)). For a motion that requires a hearing,

the entire time period from the filing of the motion until the conclusion of the hearing is excluded.

Moss, 2000 WL 553901, at *5. For a motion that does not require a hearing, the entire time period

from the filing of the motion until the court receives the last expected filing on the motion is

excluded. Id. In both instances, the statute “provides that a maximum of 30 days also is excluded

from the day the motion is ‘actually under advisement.’” Id. (quoting 18 U.S.C. § 3161(h)(1)(H)).

A motion is “actually under advisement” when “the court receives all the papers it reasonably

expects.” Henderson, 476 U.S. at 329.

   Excludable time may also include delays due to the granting of continuances. 18 U.S.C. §

3161(h)(7)(A). The statute excludes periods of delay when the court finds that the “ends of justice”

served by granting a continuance outweigh the best interest of the public and the defendant in a

speedy trial. Id.

   2. Application to Woodford’s Motion

   Here, the Court decided Woodford’s motion to suppress without a hearing. Therefore, the time

period from the filing of the motion—March 21, 2022—until the last expected briefing on the

motion—May 9, 2022, when Woodford filed his reply—is excluded. The Court received all papers

it reasonably expected on May 9, 2022, and the motion was under advisement as of the following

day. See Mers, 701 F.2d at 1336, 1338–1339; United States v. Martin, No. 2:14–CR–126–3, 2015

WL 269467, at *5 (S.D. Ohio Jan. 21, 2015). Thirty days from that date is June 8, 2022. The

Court issued its opinion denying the motion on November 15, 2022—beyond the 30-day “under

advisement” period.




                                                 9
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.221 Filed 01/23/23 Page 10 of 23


     Woodford contends that the time between the expiration of the “under advisement” period and

 the date on which the Court issued its opinion is nonexcludable and that the indictment should be

 dismissed. The Court denies the motion and finds no speedy trial violation because an ends-of-

 justice continuance was necessary based on the complexity of Woodford’s motion.

     3. Ends-of-Justice Continuance

     The Speedy Trial Act permits a district court to grant a continuance on its own motion and to

 exclude the resulting delay if the court, after considering certain factors, “sets forth, in the record

 of the case, either orally or in writing, its reasons for finding that the ends of justice served by the

 granting of such continuance outweigh the best interests of the public and the defendant in a speedy

 trial. 18 U.S.C. § 3161(h)(7)(A). “This provision gives the district court discretion—within limits

 and subject to specific procedures—to accommodate limited delays for case-specific needs.”

 Zedner v. United States, 547 U.S. 489, 498 (2006).

     The United States Supreme Court has explained that, although the statute “is clear that the

 findings must be made, if only in the judge’s mind, before granting the continuance,” it “is

 ambiguous on precisely when those findings must be ‘se[t] forth, in the record of the case.’” Id.

 at 506–507 (quoting § 3161(h)(7)(A)). In considering this ambiguity, it has stated that “the best

 practice . . . is for a district court to put its findings on the record at or near the time when it grants

 the continuance.” Id. at 507 n.7. But “at the very least the Act implies that those findings must be

 put on the record by the time a district court rules on a defendant’s motion to dismiss under §

 3162(a)(2).” Id. at 507.

     In line with this reasoning, the Sixth Circuit has repeatedly stated that “‘[t]he court does not

 have to give its reasons contemporaneously with the grant of the continuance.’” United States v.

 Richardson, 681 F.3d 736, 739 (6th Cir. 2012) (quoting United States v. Stone, 461 F. App’x 461,

 464 (6th Cir. 2012)); see also United States v. Patton, 651 F. App’x 423, 426 (6th Cir. 2016);


                                                     10
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.222 Filed 01/23/23 Page 11 of 23


 United States v. Crawford, 982 F.2d 199, 204 (6th Cir. 1993). The Court “must consider the

 justification for a continuance before any delay, but it may state justifications after a continuance

 has been granted.” United States v. Smith, 510 F. App’x 390, 395 (6th Cir. 2013). Specifically,

 “the court is allowed to state the reasoning later in an order denying a motion to dismiss charges,

 as long as “the reasons stated [are] the actual reasons that motivated the court at the time the

 continuance was granted.” Crawford, 982 F.2d at 204; see also Richardson, 681 F.3d at 739

 (explaining that the court “need only give the reasons no later than the ruling on the defendant’s

 motion to dismiss on Speedy Trial Act grounds”).

    As the Government notes, see Resp. to Mot. to Dismiss at 5, “virtually every Circuit has held

 that the entry of findings in the record after granting the continuance is not reversible error so long

 as the findings were not actually made after the fact,” United States v. Jones, 56 F.3d 581, 585 n.9

 (5th Cir. 1995) (emphasis in original) (citing Crawford, 982 F.2d at 204). Thus, Woodford is

 correct when he states that the Court must make its findings supporting a continuance before the

 speedy trial clock expires, see Mot. to Dismiss at 8, and a court cannot offer post-hoc justifications

 for a continuance, see United States v. Crane, 776 F.2d 600, 606 (6th Cir. 1985). But “so long as

 the court based its continuance on permissible factors under the Speedy Trial Act, and did not

 invent after-the-fact findings to justify an ends-of-justice continuance,” there is no error when it

 places the findings justifying a continuance on the record by the time it decides a motion to dismiss.

 United States v. Patton, 651 F. App’x 423, 426 (6th Cir. 2016).

    When determining whether the ends of justice outweigh the public and defendant’s interests in

 a speedy trial, the statute requires courts to consider several factors, including “[w]hether the case

 is so unusual or so complex, due to the number of defendants, the nature of the prosecution, or the

 existence of novel questions of fact or law, that it is unreasonable to expect adequate preparation

 for pretrial proceedings or for the trial itself within the time limits established by this section.” 18


                                                   11
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.223 Filed 01/23/23 Page 12 of 23


 U.S.C. § 3161(h)(7)(B)(ii). It also requires courts to consider “[w]hether the failure to grant such

 a continuance . . . would be likely to make a continuation of such proceeding impossible, or result

 in a miscarriage of justice” and “[w]hether the failure to grant such a continuance . . . would deny

 counsel for the defendant or the attorney for the Government the reasonable time necessary for

 effective preparation, taking into account the exercise of due diligence.” Id. § 3161(h)(7)(B)(i),

 (iv).

     “Granting a continuance based on the complexity of a case is statutorily appropriate and has

 been established in case law as adequate.” United States v. Stone, 461 F. App’x 461, 465 (6th Cir.

 2012) (affirming ends-of-justice continuance under § 3161(h)(7)(B)(ii) and (iv)). Here, while

 Woodford’s motion to suppress was under advisement, the Court determined that the complexity

 of the motion—and specifically the questions of law it presented—justified a continuance. The

 Court recognizes that it did not place the reasons justifying the continuance on the record at the

 time it granted the continuance. However, the Court now uses this ruling on Woodford’s motion

 to dismiss to expressly state the reasons that motivated the continuance at the time. Woodford’s

 motion involved multiple legal issues. Woodford moved to suppress all evidence obtained through

 the search at his home and sought a Franks hearing on the basis of an alleged omission in the search

 warrant affidavit. Mot. to Suppress at 1. In addition, he argued that, even if the Court did not find

 a Franks hearing necessary, the affidavit failed to show probable cause that Woodford engaged in

 any criminal activity. Id. at 11–18. He asserted that the affidavit was deficient in three ways. Id.

 at 2. First, it did not establish the veracity and credibility of the confidential informant. Id. at 11–

 12. Second, it did not establish a sufficient nexus between suspected criminal activity or evidence

 to be seized and Woodford’s home. Id. at 12–15, 17–18. Third, it relied on stale information. Id.

 at 15. Finally, Woodford argued that the good-faith exception to the exclusionary rule was

 inapplicable, pointing to several facts surrounding the execution of the warrant that he maintained


                                                   12
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.224 Filed 01/23/23 Page 13 of 23


 supported suppression. Id. at 18–20. Given the number of issues raised, the Court determined that

 extra time was needed to ensure a just resolution of Woodford’s motion and, in turn, enable the

 parties to effectively prepare once an opinion was issued. The complexity of the motion was

 implicit in the Court’s 19-page opinion and order addressing each issue that Woodford raised.

 Woodford continues to argue issues related to the motion, suggesting that he does not see them as

 so simply resolved. The Court recognized that the Speedy Trial clock was ticking, but the interests

 of the public and Woodford in a just resolution of the complex motion required the Court to take

 additional time in deciding it.

    Although delays always create some hardship on defendants and deprive, to some extent, the

 public’s interest in a prompt disposition, the delay here was not inordinate—roughly five months

 beyond when the decision would have been issued without a continuance. See, e.g., United States

 v. Chanu, 40 F.4th 528, 548 (7th Cir. 2022) (affirming district court’s exclusion of six months

 from the speedy trial clock, in part due to complexity of the case, in deciding defendant’s motion

 to dismiss for failure to state an offense); United States v. Banks, 761 F.3d 1163, 1180 (10th Cir.

 2014) (affirming continuance of about one year due to complexity of the case and the preparation

 required); United States v. Rice, 746 F.3d 1074, 1078 (D.C. Cir. 2014) (approving delay of

 approximately seven months as an ends-of-justice continuance based on case complexity); United

 States v. Wasson, 679 F.3d 938, 945, 948 (7th Cir. 2012) (affirming district court’s grant of ends-

 of-justice continuances of approximately seven months and approximately six months due to case

 complexity); United States v. Martin, 2015 WL 269467, at *7 (approving continuance of four

 months based on the complexity of the case and the need for additional time for counsel to prepare

 adequately for trial); United States v. Leeper, No. 08–CR–69S–5,12, 2009 WL 5171831, at *4

 (W.D.N.Y. Dec. 23, 2009) (finding no speedy trial violation when judge took approximately eight

 months to decide motions to suppress and cited the motions’ complexities as the reason for the


                                                 13
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.225 Filed 01/23/23 Page 14 of 23


 delay); United States v. Graham, No. 1:05-CR-45, 2008 WL 2098044, at *2 (S.D. Ohio May 16,

 2008) (granting ends-of-justice continuance of slightly over five months based on case

 complexity); see also United States v. Gardner, 488 F.3d 700, 719 (6th Cir. 2007) (explaining, in

 the context of the Speedy Trial Act, that delays “several months short of one year,” such as delays

 of nine months, are not “uncommonly long”).

     In the instant case, the ends of justice served by granting the continuance outweighed the best

 interest of the public and Woodford in a speedy trial. The time from June 8, 2022 to November

 15, 2022 was an appropriate excludable ends-of-justice continuance.

    Therefore, the Court denies Woodford’s motion to dismiss.

    4. Excludable Delay Until Next Available Trial Date

    On November 15, 2022, after issuing the opinion denying Woodford’s motion to suppress, the

 Court issued a notice to appear that scheduled a plea hearing/final pretrial conference for

 November 21, 2022 and a jury trial for November 23, 2022 (Dkt. 28). At the plea hearing/final

 pretrial conference, defense counsel informed the Court that they intended to file a motion for

 reconsideration and a motion to dismiss. Defense counsel filed a motion for reconsideration the

 same day, and on November 29, 2022, filed a supplemental brief for the motion and filed the

 motion to dismiss. These motions, along with the motion for revocation of detention order, tolled

 the speedy trial clock.

    The Court excludes the time period from the entry date of this opinion and order denying the

 motions until the next available trial date, given the difficulties COVID-19 has created for

 scheduling criminal jury trials, including limitations on the number of trials that can be scheduled

 per week district-wide. See 22-AO-025, Excludable Time Under the Speedy Trial Act, 28 U.S.C.

 § 3161(h)(7) in Criminal Matters (Revised) (explaining the impact of COVID-19 and its variants

 on criminal jury trials and stating that trial postponements may be supported by the order). The


                                                 14
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.226 Filed 01/23/23 Page 15 of 23


 next available trial date is February 16, 2023. Further, both parties need time to effectively prepare

 for trial, given the issuance of this opinion denying Woodford’s motions. See § 3161(h)(7)(B)(iv).

 At the hearing on these motions, both parties stated that they would be ready to proceed to trial on

 February 16, 2023. The ends of justice served by this delay outweigh the interests of the public

 and the defendant in a speedy trial.

    C. Motion for Revocation of Detention Order

    Woodford has also filed a motion to revoke the order of detention and release him on bond

 with conditions. After a detention hearing, the magistrate judge ordered Woodford detained

 pending trial, citing evidence including (i) Woodford’s prior felony conviction for similar offenses

 for which he received probation under the Holmes Youthful Trainee Act (HYTA), (ii) the

 Government’s proffer that Woodford “engaged in the same unlawful behavior” while on HYTA

 probation, and (iii) the fact that the production of child pornography charge involves multiple

 minor victims known to him. Order of Detention at 3.

    When a magistrate judge issues a detention order pursuant to 18 U.S.C. § 3142, a defendant

 may request that the order be reviewed by the district court. 18 U.S.C. § 3145(b). The district

 judge reviews the magistrate judge’s detention order de novo. United States v. Romans, No. 00-

 5456, 2000 WL 658042, at *1 (6th Cir. May 9, 2000).

    Under the Bail Reform Act, “[i]f . . . the judicial officer finds that no condition or combination

 of conditions will reasonably assure the appearance of the person as required and the safety of any

 other person and the community, such judicial officer shall order the detention of the person before

 trial.” 18 U.S.C. § 3142(e)(1). To make this determination, a court consults the factors set forth

 in § 3142(g): (i) the nature and circumstances of the offense charged, (ii) the weight of the evidence

 against the defendant, (iii) the history and characteristics of the defendant, and (iv) the nature and

 seriousness of the danger that the defendant’s release would pose to any person or the community.


                                                  15
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.227 Filed 01/23/23 Page 16 of 23


 “The government must prove risk of flight by a preponderance of the evidence, and it must prove

 dangerousness to any other person or the community by clear and convincing evidence.” United

 States v. Hinton, 113 F. App’x 76, 77 (6th Cir. 2004).

     Where—as is the case here—there is probable cause to believe that the defendant committed

 one of the crimes listed in § 3142(e)(3), it is presumed that no condition or combination of

 conditions will reasonably assure the appearance of Woodford as required and the safety of the

 community.2 See United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). The presumption in

 favor of detention imposes a burden of production on the defendant, and the Government retains

 the burden of persuasion. Id. A defendant satisfies the burden of production when the defendant

 comes forward with evidence that he or she poses neither a danger to the community nor a risk of

 flight. Id. While this burden of production is “not heavy,” the defendant “must introduce at least

 some evidence.” Id. (punctuation modified). Even if rebutted, the presumption does not disappear

 entirely. Id. Rather, it remains a factor to be considered among those weighed by the district court.

 Id. “Regardless of whether the presumption applies, the government’s ultimate burden is to prove

 that no conditions of release can assure that the defendant will appear and to assure the safety of

 the community.” Id. at 946.

     In weighing all four factors under § 3142(g), this Court finds that the Government has

 established by clear and convincing evidence that no condition or combination of conditions of

 release will reasonably assure the safety of other persons and the community. The Court addresses

 each of the § 3142(g) factors in turn.


 2
   A rebuttable presumption that no condition or combination of conditions will reasonably assure
 the appearance of the defendant as required and the safety of the community arises when there is
 probable cause to believe that the defendant committed an offense involving a minor child under
 18 U.S.C. § 2251. 18 U.S.C. § 3142(e)(3). Woodford is charged with sexual exploitation of
 children and attempted sexual exploitation of children, in violation of 18 U.S.C. § 2251(a) and (e).
 Indictment. The indictment establishes probable cause to believe that Woodford committed these
 crimes. See United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985).
                                                 16
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.228 Filed 01/23/23 Page 17 of 23


    1. Nature and Circumstances of the Offense

    The nature and circumstances of the offenses charged in this case weigh strongly in favor of

 detention. The Bail Reform Act instructs courts to consider “whether the offense . . . involves a

 minor victim.” 18 U.S.C. § 3142(g)(1). Woodford is charged with sexual exploitation of children,

 attempted sexual exploitation of children, and possession of child pornography. Indictment. The

 serious nature of these offenses is reflected in the penalties associated with them. In addition to

 carrying a presumption of dangerousness due to the involvement of a minor, the sexual exploitation

 offenses carry a 15-year mandatory minimum sentence. See United States v. Fitzhugh, No. 16-

 mj-30364, 2016 WL 4727480, at *4 (E.D. Mich. Sept. 12, 2016) (noting that mandatory sentences

 under 18 U.S.C. §§ 2251 and 2252 “reflect a Congressional determination that individuals who

 sexually exploit minors are inherently dangerous”).

    Further, the complaint alleges that Woodford’s crimes involve three separate minors and

 predatory, secretive conduct. See Compl. ¶¶ 13–17. According to the Government, Woodford

 produced pornographic materials of two minors, who were approximately 11 years old and 8–9

 years old at the time, by hiding cameras in bathrooms or changing rooms; he secretly recorded the

 informant when she exposed her genitalia to him over video chat; and he secretly recorded himself

 and the informant engaged in sexual intercourse. Id. ¶¶ 7, 13–17; Resp. to Mot. for Revocation of

 Detention Order at 2, 10. The Government also alleges that, in addition to the images that

 Woodford produced, his devices contained hundreds of images of commercial child pornography,

 including those that depict children as young as 4–5 years old. Compl. ¶ 12. These are serious

 charged offenses.

    2. Weight of the Evidence

    The second factor the Court must consider is the weight of the evidence against Woodford.

 “This factor goes to the weight of the evidence of dangerousness, not the weight of the evidence


                                                 17
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.229 Filed 01/23/23 Page 18 of 23


 of the defendant’s guilt.” Stone, 608 F.3d at 948. “In weighing the strength of the evidence, the

 district court may not modify or limit the defendant’s presumption of innocence.” United States

 v. Foster, No. 20-5548, 2020 WL 6791572, at *3 (6th Cir. July 20, 2020).

    The weight of the evidence of Woodford’s dangerousness is strong given the alleged offenses

 and reinforces the need for detention. As noted, the Government’s case involves clandestine

 recordings of three minors. “Just one sexually-related offense against just one minor is enough to

 imply dangerousness.” Fitzhugh, 2016 WL 4727480, at *5 (emphasis in original) (finding that

 this factor supported detention when the defendant was facing charges of production and receipt

 of child pornography and online enticement that involved multiple minors). The Government’s

 case also involves numerous child pornographic images allegedly found on Woodford’s devices,

 which further indicates that the weight of the evidence of dangerousness is strong, as “[s]exual

 exploitation of children via the internet, even without physical contact, harms children in real and

 lasting ways.” United States v. King, No. 3:22-CR-60-TAV-DCP-1, 2022 WL 3645996, at *4

 (E.D. Tenn. Aug. 24, 2022) (finding that the weight of the evidence of dangerousness warranted

 pretrial detention when the defendant, charged with violating 18 U.S.C. § 2252A, was found with

 hundreds of images of child pornography on his phone).

    3. History and Characteristics of the Defendant

    Section 3142(g)(3) directs the Court to consider the history and characteristics of the

 defendant, including:

        (A) the person’s character, physical and mental condition, family ties, employment,
        financial resources, length of residence in the community, community ties, past
        conduct, history relating to drug or alcohol abuse, criminal history, and record
        concerning appearance at court proceedings; and

        (B) whether, at the time of the current offense or arrest, the person was on probation,
        on parole, or on other release pending trial, sentencing, appeal, or completion of
        sentence for an offense under Federal, State, or local law[.]

 18 U.S.C. § 3142(g)(3)(A)–(B).
                                                  18
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.230 Filed 01/23/23 Page 19 of 23


     Woodford points to several factors related to his history and characteristics that he maintains

 support his motion. He states that he has strong family ties to the area, particularly to his mother,

 who is willing to serve as a third-party custodian; strong community ties; a history of verifiable

 employment, including working as a package handler at FedEx, to which he can return; and a

 history of compliance with the court’s conditions during a 2014 case.3 Mot. for Revocation of

 Detention Order at 7–8.

     However, two considerations outweigh these factors. First, Woodford has a history of similar

 offenses. In 2014, he was arrested for distributing sexually explicit materials to children, felony

 child sexually abusive material (CSAM), felony possession of CSAM, and felony using a computer

 to commit a crime. He was sentenced to 14 days in jail, was granted probation under HYTA, and

 had his case dismissed.     Second, the complaint alleges that some of Woodford’s conduct

 underlying the offenses in this case—recording the informant when she exposed her genitalia to

 him on video chat—occurred while he was on HYTA probation. Woodford’s history and

 characteristics weigh in favor of detention.

     4. Nature and Seriousness of the Danger Posed by the Defendant’s Release

     The fourth and final factor requires that the Court consider “the nature and seriousness of the

 danger to any person or the community that would be posed by person’s release.” 18 U.S.C. §

 3142(g)(4). The Court must “look to more than whether or not the defendant himself has been

 guilty of physical violence,” but also to the safety of the community as a whole. United States v.

 Vance, 851 F.2d 166, 169 (6th Cir. 1988).




 3
   The Government asserts, however, that Woodford’s representation that he was employed at
 FedEx before his arrest is inconsistent with his statement to Pretrial Services, made at the time of
 his arrest, that he had been unemployed for a year and had been supporting himself by selling
 personal items. Resp. to Mot. for Revocation of Detention Order at 13.
                                                  19
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.231 Filed 01/23/23 Page 20 of 23


    In considering this factor, courts have recognized the “very real and devastating consequences”

 that the production and possession of pornography has on minor victims. United States v. Pece,

 No. 1:20-CR-186-1, 2020 WL 6263640, at *6–*7 (N.D. Ohio Oct. 23, 2020) (noting that, while

 not every child pornography or sexual exploitation of children case warrants pretrial detention,

 “where children are used in its production, child pornography permanently records the victim’s

 abuse, and its continued existence causes the child victims of sexual abuse continuing harm . . .”

 and observing that “possessors of child pornography aid in creating and sustaining a market for

 such material”) (punctuation modified); see also United States v. Livingood, No. 5:21-MJ-5375-

 MAS, 2021 WL 5918553, at *3 (E.D. Ky. Dec. 15, 2021) (“Even where there is no contact with

 an actual child, courts have found that engaging with child exploitation materials causes real,

 lasting harm to real victims.”); United States v. Mobasseri, No. 1:17CR138, 2020 WL 3026070,

 at *3 (N.D. Ohio June 5, 2020) (“Each download and view of a child-pornographic image or film

 exacerbates the harm to the child involved in its production.”). Courts have found that a defendant

 allegedly placing children at risk in the past through the production, possession, or receipt of child

 pornography indicates that the defendant poses a danger to the community if released. See Pece,

 2020 WL 6263640, at *6–*7; United States v. Nunez, No. 17-mj-30666, 2018 WL 1026473, at *4

 (E.D. Mich. Feb. 23, 2018). In light of Woodford’s past behavior involving similar conduct, the

 evidence that the offenses in this case involved multiple minors, and courts’ recognition of the

 harm to child pornography victims, the Court finds that the danger to the community favors

 detention.

    5. Woodford’s Alternatives to Detention

    Woodford maintains that there are several conditions the Court can impose to reasonably

 assure his appearance in court and the safety of the community, including having his mother serve

 as a third-party custodian, home detention, restricted contact from minors or potential witnesses,


                                                  20
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.232 Filed 01/23/23 Page 21 of 23


 and a ban on the possession of electronic devices with access to the internet. Mot. for Revocation

 of Detention Order at 9.

    The Court is unconvinced that these measures will reasonably assure the safety of other people

 or the community. In his motion, Woodford notes that his mother, with whom he proposes he live,

 has grandchildren living in her home and that these minor children will be there until “likely mid-

 January,” id., although Woodford has not provided a date at which the grandchildren will definitely

 be living at a different residence. Moreover, Woodford has not addressed how frequently the

 grandchildren are likely to visit their grandmother once they are living at a different address. Given

 that the charged offenses involve multiple minors, releasing him to a home with minor children

 would be a grave danger. Even if these children are no longer living with Woodford’s mother,

 having his mother serve as third-party custodian does not offer assurance given the clandestine,

 online nature of his crimes. The Sixth Circuit has noted that possession of child pornography is

 “extremely dangerous to the community, particularly because such activities are often hidden from

 a defendant’s closest friends and family members.” Foster, 2020 WL 6791572, at *3 (punctuation

 modified).

    In addition, the Government notes that Woodford proposes to be released to the same home

 where he resided when he committed some of the alleged offenses, see Resp. to Mot. for

 Revocation of Detention Order at 11, which “rais[es] the concern that no matter how watchful his

 [mother] may be, he can successfully hide his criminal activity from [her],” United States v.

 Risinger, No. 3:22-cr-0007-GFVT-MAS-1, 2022 WL 1773362, at *5 (E.D. Ky. May 31, 2022);

 see also Pece, 2020 WL 6263640, at *7 (finding it “most concerning” that the defendant was able

 to commit the alleged crimes from the privacy of the residence to which he proposed to return).

    The Court finds that home detention and restricted contact from minors or potential witnesses

 are similarly insufficient to assure the safety of the community. Sexual exploitation of minors or


                                                  21
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.233 Filed 01/23/23 Page 22 of 23


 possession of child pornography does not require leaving one’s residence—or any travel at all—

 and does not require in-person contact with a minor.

    Regarding Woodford’s argument that he would not have internet access at his residence and

 that the Court may ban him from possessing electronic devices with internet access, “[c]ourts have

 repeatedly noted that, generally, prohibiting internet access to someone on release is a near

 impossibility given the internet’s ubiquitous presence.”       Pece, 2020 WL 6263640, at *7

 (punctuation modified) (rejecting argument of defendant, charged with sexual exploitation of

 children, that any safety concerns could be addressed by prohibiting him from accessing the

 internet); see also Foster, 2020 WL 6791572, at *3 (finding that “[t]here is simply no failsafe way

 to prevent any and all exposure [to potential victims] even if a defendant forfeits all electronic

 devices and is denied access to the Internet”) (punctuation modified); United States v. Hoilman,

 No. 3:22-CR-91-KAC-DCP, 2022 WL 17640199, at *4 (E.D. Tenn. Dec. 13, 2022) (“Where, as

 here, the Defendant allegedly committed an internet-dependent crime, the ubiquity of the internet

 . . . creates a significant obstacle to reasonably assuring the safety of any other person or the

 community”). For example, in Fitzhugh, the court found that proposed conditions such as having

 the defendant’s mother serve as a third-party custodian and removing all internet access and

 electronics from the home would not reasonably assure that defendant—charged with three crimes

 involving the sexual exploitation of a minor—would not pose a danger to the community. 2016

 WL 4727480, at *5. It reached this conclusion in part because “wireless networks are ubiquitous

 and internet-capable devices are easy to obtain,” and the defendant’s mother “simply cannot

 guarantee that the Defendant will not be able to access the internet and further distribute images.”

 Id. Restricting a defendant’s internet access would also be ineffectual when one considers the fact

 that a person can visit websites by using cellular data, rather than WIFI. See United States v.

 Cornish, No. 3:20-CR-00003, 2020 WL 1498841, at *4 (E.D. Mar. 30, 2020) (“The myriad of


                                                 22
Case 2:21-cr-20717-MAG-JJCG ECF No. 43, PageID.234 Filed 01/23/23 Page 23 of 23


 Internet-capable devices available, including those that work with data plans rather than wifi

 access, render policing [defendant’s] Internet use almost impossible.”).          The Court is not

 reasonably assured that it can successfully limit Woodford’s access to the internet and to electronic

 devices.

    Woodford also bases his motion in part on his detention at Michigan’s Monroe County Jail.

 Mot. for Revocation of Detention Order at 9–10. In his motion, he states that the jail allows legal

 visits only over Zoom, which prevents him from having privileged discussions with his attorney

 about the legal strategy in this case due to privacy concerns. Id. However, at the Court’s hearing

 on the motion, defense counsel represented that the jail has changed its policy to allow in-person

 legal visits. Therefore, this consideration does not support release. Even if the Zoom policy were

 in effect, the policy is not a sufficient basis for release given the danger that Woodford poses.

    Considering all of the evidence, the Court finds that the Government has met its burden and

 shown by clear and convincing evidence that no condition or combination of conditions can

 address the risk of danger that Woodford presents to other people or the community. Woodford’s

 motion to revoke the order of detention is denied.

                                        III. CONCLUSION

    For the reasons set forth above, the Court denies Woodford’s motion for reconsideration of

 the Court’s opinion denying his motion to suppress (Dkt. 29), motion to dismiss the indictment

 for violation of his speedy trial right (Dkt. 31), and motion for revocation of detention order

 (Dkt. 32).

        SO ORDERED.

 Dated: January 23, 2023                               s/Mark A. Goldsmith
        Detroit, Michigan                              MARK A. GOLDSMITH
                                                       United States District Judge




                                                  23
